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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF OREGON
                          PENDLETON DIVISION

ALLEN HAMILTON and LOIS                        Case No. 2:09-cv-01094-SI
HAMILTON, husband and wife,

     Plaintiffs,
                                         DEFENDANTS’ FIRST AMENDED
v.                                       EXPERT WITNESS LIST

SILVEN, SCHMEITS & VAUGHAN,
P.C., an Oregon Professional
Corporation, and ALAN J.
SCHMEITS,

     Defendants.


     Defendants respectfully submit the following amended expert

witness list.

Expert                          Est. time    Narrative Statement/Report
                                / direct
Jonel K. Ricker                 30 min       Report previously provided
                                             (Dkt. 197-1)
Brent T. Burton, MD, MPH        1 hour       Report previously provided
                                             (Dkt. 197-2)
Gary J. Susak, Esq.       30 min             Mr. Susak has been an
Susak & Powell                               Oregon trial attorney since
222 SW Columbia St, #1120                    1972.   Mr. Susak will
Portland, OR 97201                           provide his opinions in
                                             relation to the testimony
                                             of plaintiffs’ expert
                                             Bennett Wasserman in the
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Expert                          Est. time    Narrative Statement/Report
                                / direct
Gary J. Susak, cont’d                        context of other testifying
                                             experts. He will testify
                                             that it was not a breach of
                                             the standard of care to not
                                             advise the Hamiltons of the
                                             option of waiting to
                                             proceed with their personal
                                             injury claims in the hopes
                                             of learning whether Mrs.
                                             Hamilton might contract
                                             non-Hodgkin’s lymphoma
                                             (NHL). In light of expert
                                             testimony that it would be
                                             impossible to know whether
                                             a person would contract NHL
                                             at some point in the
                                             future, delay in pursuing a
                                             claim would risk losing the
                                             right to pursue any injury
                                             claim. An attorney’s
                                             conduct would be within the
                                             standard of care if he
                                             exercised his judgment to
                                             proceed with an injury
                                             claim instead of waiting
                                             based on a purely
                                             speculative chance that a
                                             more serious medical
                                             condition might develop in
                                             the future. This is
                                             especially true where the
                                             scientific evidence does
                                             not support the conclusion
                                             that exposure to 2,4-D will
                                             cause NHL, and where the
                                             client wishes to proceed
                                             with the existing claim.

     DATED this 12th day of September, 2013.

                              YTURRI ROSE LLP

                              /s/ Bruno J. Jagelski
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                        CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on the 12th day of September, 2013, I
filed the foregoing DEFENDANTS’ FIRST AMENDED EXPERT WITNESS
LIST electronically through the CM/ECF system, which caused the
following parties or counsel to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing:

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         Attorneys for Plaintiffs




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CERTIFICATE OF SERVICE
